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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

YOLANDA ELLIS, as Next
Friend, et al.,
                   Plaintiffs, Case No. 24-11591
                               Honorable Shalina D. Kumar
v.                             Magistrate Judge David R. Grand

YPSILANTI COMMUNITY
SCHOOLS et al.,
                Defendants.


     ORDER STRIKING COMPLAINT (ECF NO. 1) AND EX-PARTE
     PETITION FOR APPOINTMENT AS NEXT FRIEND (ECF NO. 2)


      On June 19, 2024, plaintiff filed the instant complaint and ex-parte

petition for appointment as next friend. ECF Nos. 1-2. Under Federal Rule

of Civil Procedure 5.2(a)(3), any court filings that include “the name of an

individual known to be a minor…may include only…the minor’s initials.”

Fed. R. Civ. P. 5.2(a)(3). Because these documents refer to a minor by his

full name, the Court STRIKES the documents.

      Accordingly, plaintiff is afforded three (3) business days from the

entry of this order within which to revise the complaint and motion such that

they conform with the rule and refile them. Further, the Clerk’s Office is


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DIRECTED to edit the party name to delete any reference to the minor

child.


         IT IS SO ORDERED.



                                        s/ Shalina D. Kumar
                                        SHALINA D. KUMAR
Dated: June 21, 2024                    United States District Judge




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